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 5
 6
 7                    IN THE UNITED STATES DISTRICT COURT
 8                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,     )
                                   )        Mag No. 07-392-EFB
11                  Plaintiff,     )
                                   )
12             v.                  )
                                   )        Motion to Dismiss Complaint;
13   MARCO VINICIO ESPINO,         )        Order
                                   )
14                  Defendant.     )
     ______________________________)
15
16        The United States, through the undersigned Assistant U.S.
17   Attorney, moves to dismiss the captioned complaint against defendant
18   MARCO VINICIO ESPINO.
19
                                            McGREGOR W. SCOTT
20                                          United States Attorney
21
                                           /s/ Mary L. Grad
22                                      By:________________________
                                           MARY L. GRAD
23                                         Assistant U.S. Attorney
24
25   SO ORDERED.
26   Date: January 14, 2008.
27
28
